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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ABRAHAM ITUAH,

                        Plaintiff,
                                                           CIVIL ACTION
                                                           NO. 19-05088
              v.


CITY OF PHILADELPHIA, et al.,

                        Defendants.


                                         ORDER
      AND NOW, this 29th day of December 2020, upon consideration of Defendants’

Motion to Dismiss (ECF No. 14) and Ituah’s Response (ECF No. 16), it is ORDERED

that the Motion is GRANTED. Specifically:

      1)       Ituah’s claims regarding the 3843 Fairmount Avenue property are

               DISMISSED with prejudice;

      2)       Ituah’s tax-based claim for damages against Carmen Sanchez is

               DISMISSED with prejudice;

      3)       All remaining claims are DISMISSED without prejudice;

      4)       Ituah may AMEND his Amended Complaint consistent with this Order

               and the accompanying Memorandum on or before Monday, February

               1, 2021. If he chooses to file one, Ituah’s Second Amended Complaint

               must allege all facts supporting his remaining claims.

                                                 BY THE COURT:


                                                  /s/ Gerald J. Pappert
                                                 ______________________

                                                 GERALD J. PAPPERT, J.

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